EEOC Form 161 (11/09) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Case: 1:17-cv-00569 Document-#-1-2-Filed-04/25/4+Page 1 of 1 PagelD #:7

DISMISSAL AND NOTICE OF RIGHTS

 

 

To: Sunday A. Cosmano From: Chicago District Office
; : 500 West Madison St
Mount Prospect, IL 6005§ Suite 2000
wy . : Chicago, IL 60661
| ‘Of behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative } Telephone No.
Seth Sinclair,
440-2017-00326 Investigator (312) 869-8130

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleg
discrimination to file your charge

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The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that t
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance w
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adofted the findings of the state or local fair employment practices agency that investigated this charge.

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Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send y
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state.court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 year

before you file suit may not be collectible.
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Bneisauress) SJ Julianne Bowman, (Date Mailed)
District Director

@
ce: STATE OF ILLINOIS LOTTERY
c/o Ruby Taylor, EEO Officer
Illinois Department of Revenue, Suite 5-500
101 West Jefferson Street
Springfield, IL 62702
